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                             UNITED STATES BANKRUPTCY COURT
                                                     Southern District of Texas


In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8     )
years including married, maiden, trade, and address):             )
                                                                  )
Alexander E. Jones                                                )Case Number: 22−33553
aka Alex Jones                                                    )
                                                                  )
xxx−xx−5989                                                       )
c/o 2525 McKinnon Street                                          )
Suite 425                                                         )
Dallas, TX 75201                                                  )
                                                                  )Chapter: 7
                                                                  )
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                                                                  )


                             NOTICE OF ASSETS, NOTICE TO CREDITORS AND
                         OTHER PARTIES IN INTEREST OF THE NEED TO FILE CLAIMS


Notice is hereby given that:

It having appeared from the schedules of the debtor at the time of filing that there was no estate from which any
dividend could be paid to creditors, the notice to creditors advised that it was unnecessary for any creditor to file his
claim at that time.

It appearing subsequently that there is an estate from which a dividend to creditors may be paid, creditors must now
file claims in this case in order to share in any distribution from the estate. CLAIMS MUST BE FILED ON OR
BEFORE October 1, 2024

Claims which are not filed timely as set forth above will not be allowed, except as otherwise provided by law. A
claim may be filed in the Office of the Clerk of the Bankruptcy Court on an official form prescribed for a proof of
claim.
                     MAIL TO:

                                       United States Bankruptcy Court
                                       PO Box 61010
                                       Houston, TX 77208




                                                                  Nathan Ochsner
                                                                  Clerk of Court

Filed: July 1, 2024

Trustee: Christopher R Murray
